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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     JOANNE L. DIAMOND
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577
 5   Joanne_Diamond@fd.org

 6
     Attorney for Nathaniel Royal
 7
 8                               UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:21-CR-00239-JCM-BNW-1
11
                    Plaintiff,                           STIPULATION TO CONTINUE
12
                                                         SENTENCING HEARING
            v.
13                                                       (First Request)
     NATHANIEL ROYAL,
14
                    Defendant.
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16
            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
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     United States Attorney, and Kimberly Anne Sokolich, Assistant United States Attorney,
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     counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
19
     and Joanne L. Diamond, Assistant Federal Public Defender, counsel for Nathaniel Royal, that
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     the Sentencing hearing currently scheduled for August 5, 2022 at 10:00 am, be vacated and set
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     to a date and time convenient to this Court, but no sooner than thirty (30) days.
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            The Stipulation is entered into for the following reasons:
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            1.      Counsel for the defendant needs additional time to meet with Mr. Royal and
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     thoroughly prepare the case for sentencing.
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            2.      The defendant is incarcerated and does not object to the continuance.
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            3.      The parties agree to the continuance.
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 1        This is the first stipulation to continue sentencing hearing filed herein.
 2        DATED this 7th day of July, 2022.
 3   RENE L. VALLADARES                              JASON M. FRIERSON
     Federal Public Defender                         United States Attorney
 4
        /s/ Joanne L. Diamond                           /s/ Kimberly Anne Sokolich
 5   By_____________________________                 By_____________________________
 6   JOANNE L. DIAMOND                               KIMBERLY ANNE SOKOLICH
     Assistant Federal Public Defender               Assistant United States Attorney
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 1
                                 UNITED STATES DISTRICT COURT
 2
                                       DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                           Case No. 2:21-CR-00239-JCM-BNW-1

 5                  Plaintiff,                           ORDER
 6          v.

 7   NATHANIEL ROYAL,

 8                  Defendant.
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10
            IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for
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     Friday, August 5, 2022 at 10:00 a.m., be vacated and continued to September 9, 2022, at
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     11:00 a.m.; or to a time and date convenient to the court.
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            DATED tJuly 8, 2022.
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                                                  UNITED STATES DISTRICT JUDGE
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